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8                              UNITED STATES DISTRICT COURT

 9                           CENTRAL DISTRICT OF CALIFORNIA

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11   TERRI VANESSA TUCKER,                        Case No. 2:20-06702 JFW (ADS)

12                              Plaintiff,

13                              v.                ORDER ACCEPTING UNITED STATES
                                                  MAGISTRATE JUDGE’S REPORT AND
14   MUSIC ROYALTY CONSULTING, INC.,              RECOMMENDATION

15                              Defendant.

16

17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Third Amended

18   Complaint (“TAC”) filed by Plaintiff Terri Vanessa Tucker, (Dkt. No. 42), Defendant’s

19   Motion to Dismiss Plaintiff’s Third Amended Complaint Pursuant to Rule 12(b)(6)

20   (“Motion to Dismiss”), (Dkt. No. 104), Plaintiff’s opposition to the Motion, (Dkt. No.

21   111), Defendant’s Reply in Support of Defendant’s Motion to Dismiss Plaintiff’s Third

22   Amended Complaint Pursuant to Rule 12(b)(6), (Dkt. No. 112), the Report and

23   Recommendation of United States Magistrate Judge, (Dkt. No. 125), and Defendant’s

24   Partial Objection to Report and Recommendation, (Dkt. No. 126). The Court has
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 1   engaged in a de novo review of those portions of the Report and Recommendation to

 2   which objections were made and overrules the objection. Accordingly, the Court accepts

 3   the finding and recommendations of the Magistrate Judge.

 4         Accordingly, IT IS HEREBY ORDERED:

 5         1.     The Report and Recommendation, (Dkt. No. 125), is accepted:

 6         2.     Defendant’s Motion to Dismiss is granted, (Dkt. No. 104);

 7         3.     Plaintiff is granted leave to amend the complaint only as to the two issues
                  identified in the Report and Recommendation. Plaintiff must file her
8                 Fourth Amended Complaint by no later than January 3, 2022; and

 9         4.     The reference in this case pursuant to General Order No. 05-07 is
                  withdrawn.
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11   DATED: December 5, 2021                 _____________________________
                                             THE HONORABLE JOHN F. WALTER
12                                           United States District Judge

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